
USCA1 Opinion

	




                              _________________________
          No. 96-2071
                              UNITED STATES OF AMERICA,
                                     Appellant,
                                         v.
                                  GARY T. DETHLEFS,
                                Defendant, Appellee.
                              _________________________
          No. 96-2072
                              UNITED STATES OF AMERICA,
                                     Appellant,
                                         v.
                                   DAVID C. WHITE,
                                Defendant, Appellee.
                              _________________________
          No. 96-2073
                              UNITED STATES OF AMERICA,
                                     Appellant,
                                         v.
                              PETER CLAUDE PICCIANDRA,
                                Defendant, Appellee.
                              _________________________
          No. 96-2074
                              UNITED STATES OF AMERICA,
                                     Appellant,
                                         v.
                                   RICHARD RECORD,
                                Defendant, Appellee.
                              _________________________

          No. 96-2075
                              UNITED STATES OF AMERICA,
                                     Appellant,
                                         v.
                                  THOMAS K. STONE,
                                Defendant, Appellee.
                              _________________________
                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                       [Hon. Gene Carter, U.S. District Judge]
                              _________________________
                                       Before
                                Selya, Circuit Judge,
                             Cyr, Senior Circuit Judge,
                             and Boudin, Circuit Judge.
                              _________________________
               Margaret D. McGaughey
                                   , Assistant United States Attorney, with
          whom Jay 
                   P. 
                       McCloskey, United States Attorney, and  Jonathan 
                                                                         R.
          Toof, Assistant United States Attorney, were on brief, for the
          United States.
               John  
                    A.  
                        Ciraldo, with whom  Perkins,  
                                                      Thompson,  
                                                                Hinckley  
                                                                          &amp;
          Keddy,  
                 P.A.,  Richard  
                                 M.  
                                    Egbert,  Robert  
                                                     N.  
                                                        Launie,  Joseph  
                                                                         J.
          Balliro, 
                  Bruce B. Hochman
                                  , and 
                                        Black, Lambert, Coffin &amp; Rudman
                                                                       were
          on consolidated brief, for the appellees.
                              _________________________
                                   August 18, 1997
                              _________________________

                    SELYA, 
                          Circuit Judge
                                       . In this case, the sentencing court
          granted a full three-level acceptance of responsibility discount to
          each of five defendants (Gary T. Dethlefs, David C. White, Peter C.
          Picciandra, Richard Record, and Thomas K. Stone) on the ground that
          their guilty pleas were opportune.  See USSG S3E1.1(b)(2) (1995).
          Then the court essayed general, global downward departures under
          USSG S5K2.0 (1995), reasoning that the defendants' pleas
          substantially assisted the judicial system and the administration
          of justice by obviating the need for trial of a complex,
          potentially time-consuming case. Concluding, as we do, that the
          record contains no sufficient justification for the downward
          departures, we vacate the sentences and remand for resentencing.
          I. THE PROCEEDINGS BELOW
                    To the modest extent that the offense conduct pertains to
          the issues on appeal, we extract the facts from the undisputed
          portions of the five presentence investigation reports, the plea
          colloquies, and the transcripts of the sentencing hearings.   See
          United 
                 States v. Talladino, 38 F.3d 1255, 1258 (1st Cir. 1994);
          United States v. Dietz, 950 F.2d 50, 51 (1st Cir. 1991). We also
          consider the transcript of the hearing on the motions for downward
          departures (which the district court expressly incorporated into
          the sentencing record).
                    In September 1994, a federal grand jury in Maine returned
          a superseding indictment which charged the five appellees and four
          confederates with conspiring to possess and distribute marijuana
          (count 1) and conspiring to commit tax fraud (count 3).   See 21
                                          3

          U.S.C. SS 841(a)(1), 841(b)(1)(A), 846 (1994); 18 U.S.C. S 371
          (1994). Count 2 of the indictment sought the forfeiture of certain
          property based on the owners' involvement in the marijuana
          operation.  See 21 U.S.C. S 853 (1994); see also United States v.
          White, 116 F.3d 948 (1st Cir. 1997) (discussing forfeiture aspect).
          The court treated an epidemic of motions during the next several
          months. Along the way, one defendant, Thomas Baker, entered into
          a plea agreement and, for present purposes, dropped out of sight.
                    Faced with the prospect of trying eight defendants on
          drug and tax charges, the district court opted to bifurcate the
          anticipated trial and to sever defendants.    See March 14, 1995
          Order. The court proposed to start the process by trying five
          defendants on the drug charges. A planned rehabilitation of the
          Portland courthouse complicated the court's scheduling efforts.
          After contemplating his options, Judge Carter moved the trial to
          Bangor and decreed that Phase I would begin on September 6, 1995.
                    The record reflects that the judge vigorously promoted
          plea negotiations. At pretrial conferences, defense counsel
          bemoaned the government's rigidity and suggested that the court
                              
               This was to be Phase I, encompassing Record, Dethlefs, Baker,
          Irvin Morris and Stuart Smith. Phase II was to involve trying the
          Whites (who are siblings), Picciandra, and Stone on the same
          counts. The bifurcation order left the tax count for subsequent
          resolution. Some two months later, the court entered a new order
          vacating the severance of the defendants into two groups but
          retaining the principle of bifurcation.  See May 12, 1995 Order;
          see also United States v. Morris, 914 F. Supp. 637, 639 (D. Me.),
          aff'd, 99 F.3d 476 (1st Cir. 1996). While the court referred to a
          three-phased trial in subsequent discussions, the record leaves the
          impression that only two phases   a drug trial and a tax trial   
          would have been necessary.
                                          4

          could restore the balance if it agreed to depart downward from the
          defendants' normal sentencing ranges. The judge signalled some
          degree of receptivity to this idea, stating at one pretrial
          conference:
                    If all of the defendants got together and
                    pleaded straight up in this case and made
                    strong arguments to me for downward departure
                    in order to recognize the alleviation of an
                    immense load upon the time, effort and
                    resources of this Court, I would consider it
                    very[,] very favorably.
                    On August 22, 1995, the appellees changed their pleas
          pursuant to agreements which stipulated drug quantities but which
          contained no other commitments as to sentencing. In anticipation
          of their disposition hearings, the appellees moved for downward
          departures on the ground that their guilty pleas substantially
          assisted the judiciary by conserving resources important to
          judicial administration. The district court entertained oral
          argument. During the hearing, the court expressed concern about
          whether it had the authority to, or should, depart downward "for
          conduct of these defendants consisting of their tender of guilty
          pleas" which "results in a benefit to the Court in aiding in the
          conservation of judicial resources without direct benefit to the
          prosecution." Despite its avowed reservations, the court concluded
          that "there was a substantial benefit that accrued to the Court
          from the fact that it did not have to go to trial in this case";
          that the proceedings would have been "very complex" and would have
          generated a host of issues on appeal; that, due to bifurcation, the
          trial proceedings would have taken four to six months of courtroom
                                          5

          time spanning a period of ten to twelve months, followed by a
          significant post-trial motion practice; and that the situation
          would have been exacerbated by the transfer of the case to Bangor
          (which would have required Judge Carter to suspend operations in
          Portland, transport his staff to Bangor, and disrupt the wonted
          operations of the resident district judge).
                    Pondering these factors, Judge Carter concluded that the
          entry of pleas was a mitigating circumstance which, given the
          significant conservation of judicial resources that resulted, was
          not adequately considered under the applicable guideline
          provisions. He therefore announced that he would grant downward
          departures in favor of all five appellees.
                    The court convened individualized disposition hearings.
          We eschew the interstitial details of the various sentencing
          computations, save only to note that each appellee received a
          three-level reduction for acceptance of responsibility. Judge
          Carter calculated the guideline sentencing range (GSR) to be 87-108
          months for White, Record, and Stone,    see USSG Ch. 5, Pt. A
          (Sentencing Table) (adjusted offense level 29; criminal history
          category I), 108-135 months for Picciandra,    see id. (adjusted
          offense level 31; criminal history category I), and 235-293 months
                              
               Rebecca White also pleaded guilty in the same time frame, but
          her case took a different turn.  See United 
                                                      States v. White, ___
          F.3d ___ (1st Cir. July 28, 1997) [No. 96-2215] (rejecting Rebecca
          White's appeal). The two remaining defendants, Morris and Smith,
          proceeded to trial on the drug charges and were acquitted. When
          last we visited the matter, the government was preparing to try
          them for tax fraud. See 
                                  United States
                                                v. 
                                                   Morris, 99 F.3d 476, 478
          (1st Cir. 1996).
                                          6

          for Dethlefs, 
                       see 
                           id. (adjusted offense level 37; criminal history
          category II). The judge then essayed wholesale departures.   He
          sentenced White, Record, and Stone to 60-month incarcerative terms
          and Picciandra to a 72-month incarcerative term (attributing the
          larger departure to the perceived need "to maintain parity in terms
          of receipt of proper recognition of benefit received by the
          Court"). As to Dethlefs, the judge imposed a 175-month
          incarcerative term, deeming him "entitled to a very significant
          downward departure for his role in bringing about the pleas of five
          other defendants, and in bringing to the Court his own plea,
          obviating the need for extensive trial proceedings." Displeased by
          the court's rulings, the government appealed.
          II. ACCEPTANCE OF RESPONSIBILITY
                    These appeals present two distinct questions. We first
          address the easier question: acceptance of responsibility.
          Whether a defendant has accepted personal responsibility is a fact-
          intensive determination. Absent an error of law, we will not
          disturb the sentencing court's judgment in this area unless it is
          clearly erroneous.  See Talladino, 38 F.3d at 1263; United States
          v. Morillo, 8 F.3d 864, 871 (1st Cir. 1993).
                    The applicable guideline provision is USSG S3E1.1 (1995),
          reprinted in the appendix. It authorizes a basic two-level
          reduction in a defendant's offense level if the court determines
                              
               In addition to prison sentences, the court also imposed terms
          of supervised release on all the appellees; levied special
          assessments but no fines; and entered forfeiture orders against
          White, Record, and Dethlefs.
                                          7

          that he has accepted responsibility.     See  id. S3E1.1(a). A
          recently added subsection permits an additional one-level reduction
          for certain defendants, provided that the court makes particular
          findings.  See id. S3E1.1(b). The district court gave all five
          appellees the full three-level discount pursuant to section
          3E1.1(b)(2).
                    The government concedes the appellees' entitlement to the
          basic two-level reduction and also concedes that they meet the
          threshold eligibility criteria for the bonus one-level reduction.
          But the government strenuously protests the appellees' entitlement
          to that bonus. Section 3E1.1(b)(2) requires a finding that a
          defendant "timely notif[ied] authorities," that is, the prosecution
          and the court, "of his intention to enter a plea of guilty, thereby
          permitting the government to avoid preparing for trial and
          permitting the court to allocate its resources efficiently," and
          the government says that pleas tendered more than a year after
          indictment and only two weeks before trial cannot meet that
          benchmark.
                    To be sure, we have upheld the denial of a one-level
          discount under section 3E1.1(b) in situations where defendants have
          waited less time to plead,   see, e.g., United 
                                                          States v.  Nunez-
          Rodriguez, 92 F.3d 14, 17 &amp; n.2 (1st Cir. 1996); 
                                                         Morillo, 8 F.3d at
          872, and we have suggested that defendants who put the prosecutors
          through their paces by loosing a heavy barrage of pretrial motions
          (as did the appellees) usually cannot expect to receive the bonus
          discount, see United 
                               States v. Munoz, 83 F.3d 7, 9 n.1 (1st Cir.
                                          8

          1996) (per curiam) (dictum). But generalities are often unhelpful
          in specific cases, and the trier's judgment on acceptance of
          responsibility issues is entitled to great respect.     See USSG
          S3E1.1, comment. (n.5); see also United States v. Royer, 895 F.2d
          28, 29 (1st Cir. 1990).
                    Here, the district judge made particularized findings and
          articulated a plausible basis for his determination that the
          appellees had satisfied the timeliness requirement:
                    I think the timeliness of notification in
                    these cases is one that is in some sense
                    relative . . . . Here it is clear to the
                    Court that the plea entered at a point in time
                    [taking into account] the total future
                    duration of this effort if the pleas were not
                    entered, such that they did serve the purpose
                    intended to be served by section 3E1.1(b)(2),
                    of cutting off a significant portion of
                    preparation for trial . . . and afford[ing]
                    the Court an opportunity to employ its
                    resources to good advantage and in an
                    efficient manner. I think there was a
                    timeliness in that respect in the full context
                    and circumstances of the case . . . .
                    Although the matter is arguable, we cannot say that this
          finding is clearly erroneous. Timeliness is a concept, not a
          constant, and it normally must be evaluated in context. This is
          especially true in connection with section 3E1.1(b), since that
          guideline defines timeliness in functional, rather than strictly
          temporal, terms. See USSG S3E1.1, comment. (n.6) ("The timeliness
          of the defendant's acceptance of responsibility . . . is context
          specific."); see also United 
                                       States v.  Wetwattana, 94 F.3d 280,
          285-86 (7th Cir. 1996). Thus, the timeliness requirement of
          section 3E1.1(b)(2) cannot always be measured simply by counting
                                          9

          calendar pages.
                    The trial court, which enjoys a superior coign of
          vantage, found that the notification given, though late in absolute
          terms, was still early enough in the game to be of substantial
          benefit to both the prosecution and the court because it
          forestalled the need to make final preparations for a full-scale
          drug trial, and, perhaps more importantly, because it eliminated
          the arduous task of preparing to try, and then actually trying, the
          tax charge vis-a-vis the appellees. On this basis, the district
          court's finding that the appellees timely notified the authorities
          of their intent to enter guilty pleas is supportable.
          III. THE DOWNWARD DEPARTURES
                    The government assigns error to all five downward
          departures. We review departures for abuse of discretion, 
                                                                   see 
                                                                       Koon
          v. United 
                    States, 116 S. Ct. 2035, 2046-47 (1996), employing an
          analysis which, like all Gaul, is divided into three parts. First,
          we determine as a theoretical matter whether the stated ground for
          departure is permissible under the guidelines. If the ground is
          theoretically appropriate, we next examine whether it finds
          adequate factual support in the record. 
                                                 See 
                                                     United States
                                                                   v. 
                                                                      Diaz-
          Villafane, 874 F.2d 43, 49 (1st Cir. 1989). If so, we must probe
          the degree of the departure in order to verify its reasonableness.
                              
               While this prong of the test poses a question of law,    see
          Koon, 116 S. Ct. at 2047, it nonetheless falls within the abuse of
          discretion rubric. That "standard includes review to determine
          that the discretion was not guided by erroneous legal conclusions."
          Id. at 2048.
                                         10

          See United 
                     States v. Quinones, 26 F.3d 213, 219 (1st Cir. 1994).
          In this instance, the government posits that the district court's
          departure decisions fail each prong of this tripartite test.
                            A.  The Ground for Departure.
                    The lower court departed under USSG S5K2.0 (1995) (the
          text of which is reprinted in the appendix). This proviso, echoing
          18 U.S.C. S 3553(b) (1994), permits (but does not require) a
          sentencing court to venture outside the GSR if it detects "an
          aggravating or mitigating circumstance of a kind, or to a degree,
          not adequately taken into consideration by the Sentencing
          Commission in formulating the guidelines that should result in a
          sentence different from that described." Not any aggravating or
          mitigating circumstance will do; the circumstance must "render the
          case atypical and take it out of the `heartland' for which the
          applicable guideline was designed." 
                                             United States
                                                           v. 
                                                              Carrion-Cruz,
          92 F.3d 5, 6 (1st Cir. 1996) (per curiam).
                    Here, the court's stated basis for departing was
          substantially the same in respect to all five appellees: the
          significant conservation of judicial resources which the entry of
          a guilty plea yielded. Consequently, we first must ask whether, in
          theory, a guilty plea which conserves judicial resources and
          thereby facilitates the administration of justice is a mitigating
          feature on which a court may predicate a downward departure (which
          we sometimes shall call a "facilitation" departure). Although this
          issue has generated disagreement among the courts of appeals, it is
          new to us.
                                         11

                    The touchstone for our analysis is   Koon. There, the
          Justices made it clear that, in considering whether a valid basis
          for departure exists, an inquiring court should take a series of
          related steps. The initial step is to identify "[w]hat features of
          th[e] case, potentially, take it outside the Guidelines'
          `heartland,'" thus making it "special" or "unusual." Koon, 116 S.
          Ct. at 2045 (quoting United 
                                      States v.  Rivera, 994 F.2d 942, 949
          (1st Cir. 1993)). After the distinguishing feature has been
          identified, the next step is to determine whether the Sentencing
          Commission has prohibited departures based on that feature.   See
          id. If so, the inquiry ends. But if the Commission has not
          outlawed departures on that account, the court must ascertain
          whether the Commission has considered the identified feature at
          all, and if so, whether it has either encouraged or discouraged
          departures premised thereon.  See id.
                    Once this segment of the analysis is complete, the
          contours of the sentencing court's authority to depart begin to
          take shape. If the distinguishing feature is a factor which is not
          mentioned in the sentencing guidelines, the court, mindful of the
          "structure and theory" of the guidelines, is free to decide whether
          that feature logically suffices to remove the case from the
          heartland.  Id. If, however, the distinguishing feature is a
          discouraged factor or an encouraged factor which already has been
          taken into account in the framing of the applicable guideline, the
          court may depart only if the feature is present to an exceptional
          degree or the case is distinctive in some other way.  See id.
                                         12

                    In this case, the sentencing judge identified a feature
          _ a timely guilty plea which conserved judicial resources and
          thereby facilitated the administration of justice _ which he
          thought differentiated the case from those within the heartland.
          Because the government concedes that the Commission has not
          expressly forbidden courts from considering this feature, the
          pivotal issue becomes whether the Commission took the identified
          feature into account in formulating the guidelines (and if so, to
          what end). This issue implicates the reach of two guidelines, USSG
          SS3E1.1 and 5K1.1, the full text of which we set out in the
          appendix. We discuss them in reverse order.
                    Section 5K1.1 depends on a defendant's "assistance to the
          authorities," a phrase which, in context, means assistance to the
          prosecution. The language of that section targets assistance in
          reference to interests and duties unique to the prosecution.  See
          USSG S5K1.1 (referring to "substantial assistance in the
          investigation or prosecution of another person"); 
                                                          see 
                                                              also USSG Ch.
          1, Pt. A, intro. comment. 4(g). Indeed, a sentencing judge cannot
          depart under section 5K1.1 unless the prosecution chooses to place
          that guideline in play.  See Wade v. United States, 504 U.S. 181,
          185 (1992); 
                     United States
                                   v. 
                                      Mariano, 983 F.2d 1150, 1155 (1st Cir.
          1993). We think it is extremely unlikely that the Commission, if
          it had considered a defendant's assistance to the courts under
          section 5K1.1, would have placed the availability of such a
          departure in the prosecutor's sole discretion. It is, after all,
          self-evident that what is beneficial for the administration of
                                         13

          justice and what is of assistance to the prosecution are not
          necessarily congruent, and the judge, not the prosecutor, is in the
          best position to assess a defendant's assistance to 
                                                              the 
                                                                   judicial
          system. It is equally self-evident that, even if assistance to the
          prosecution accrues benefit to the court, or vice versa, the extent
          of the conferred benefit can vary appreciably between the two
          institutions.
                    USSG S3E1.1(b) is closer to the mark. It rewards the
          efficient allocation of judicial resources which is a normal
          concomitant of a guilty plea. Still, consideration under that
          guideline is tied exclusively to timeliness.    See id. comment.
          (n.6). We easily can envision circumstances in which a guilty plea
          materially assists a court (even though the assistance may not be
          temporally focused) and confers benefits beyond scheduling
          efficiency. Then, too, assistance to the court may result from
          efforts which include, but which go well beyond, the timely entry
          of a plea.
                    Courts are divided as to whether these guidelines leave
          any room for facilitation departures. The court below saw no
          barrier. It relied mainly on United States
                                                    v. 
                                                       Garcia, 926 F.2d 125
          (2d Cir. 1991). There, three defendants initially pleaded not
          guilty to drug-trafficking charges. Two months later, one of them,
          Garcia, agreed to furnish information and testify for the
                              
               But cf. Charles Erwin Wilson, To the Senate Armed Forces
          Committee (1952) (suggesting that "[w]hat is good for the country
          is good for General Motors, and what's good for General Motors is
          good for the country").
                                         14

          prosecution. At that juncture, he pleaded guilty to the conspiracy
          count in the indictment. Shortly thereafter, his codefendants
          changed their pleas. See 
                                   id. at 126. The sentencing court granted
          Garcia a two-level reduction for acceptance of responsibility _ the
          added level for timely notification of a guilty plea was not
          available, as section 3E1.1(b) had not yet been adopted _ and then
          departed downward on the ground that Garcia's actions had
          facilitated the administration of justice.  See id. at 126-27.
                    The Second Circuit upheld the sentence. It reasoned that
          the guidelines did not adequately consider the mitigating
          circumstances present in Garcia's case: USSG S5K1.1 focuses on
          assistance to the government, not the judicial system, and
          acceptance of responsibility as that term is used in USSG S3E1.1
          differs qualitatively from activities facilitating the
          administration of justice.   See id. at 127-28. The court then
          upheld the departure on the basis that:
                    [T]he additional assistance rendered the
                    [district] court in the disposition of the
                    charges against the other defendants justified
                    the departure from the Sentencing Guidelines.
                    As [the district judge] found, Garcia's
                    conduct "broke the log jam" in a multi-
                    defendant case. His relatively early guilty
                    plea and willingness to testify against co-
                    defendants induced [them] to enter guilty
                    pleas. This conserved judicial resources by
                    facilitating the disposition of the case
                    without a trial.
          Id. at 128.
                    Garcia is to some extent a waif in the wilderness. Other
          appellate courts, fortified in their resolve by the enactment of
          USSG S3E1.1(b), see USSG App. C, amend. 459 (effective Nov. 1,
                                         15

          1992), have declined to follow 
                                       Garcia, concluding that, because the
          sentencing guidelines adequately consider a defendant's assistance
          to the judicial system under sections 3E1.1 and 5K1.1, facilitation
          is not a permissible basis for a downward departure.  See,  e.g.,
          United  
                 States v.  Dorsey, 61 F.3d 260, 262-63 (4th Cir. 1995)
          (upholding a district court's refusal to depart downward for
          professed assistance to the judicial system), 
                                                       cert. 
                                                             denied, 116 S.
          Ct. 732 (1996); United 
                                 States v. Haversat, 22 F.3d 790, 794-95 &amp;
          n.5 (8th Cir. 1994) (reversing the sentencing court and holding
          that neither the defendant's early plea nor his help in settling a
          related civil suit warranted a downward departure under USSG
          S5K2.0); 
                  United States
                                v. 
                                   Shrewsberry, 980 F.2d 1296, 1297-98 (9th
          Cir. 1992) (per curiam) (rejecting the defendant's plaint that she
          should receive a downward departure for her aid in cracking a
          case). Indeed, the Fourth Circuit went so far as to say that "[w]e
          can envision no circumstance in which `assistance to the judicial
          system' would not also be of assistance to the Government."
          Dorsey, 61 F.3d at 262.
                    The problem with all these cases,  Garcia included, is
          that they were decided without the benefit of Koon. We read  Koon
          to mean that courts, as a general rule, should not categorically
          reject any factors (save only forbidden factors and factors which
          lack relevance) as possible bases for departures. 
                                                           See 
                                                               Koon, 116 S.
          Ct. at 2051 (warning that too ready resort to categorical
          interpretations "would nullify the Commission's treatment of
          particular departure factors and its determination that, with few
                                         16

          exceptions, departure factors should not be ruled out on a
          categorical basis"); see also USSG Ch. 1, Pt. A, intro. comment.
          4(b) (explaining that, apart from forbidden factors, the Sentencing
          Commission "does not intend to limit the kinds of factors, whether
          or not mentioned anywhere else in the guidelines, that could
          constitute grounds for departure in an unusual case"). Post Koon,
          it would be folly to conclude that a timely guilty plea which
          conserves judicial resources and thereby facilitates the
          administration of justice must not be considered under any
          circumstances in the departure calculus.
                    On this basis, then, we hold that a categorical bar (such
          as the government urges here) would contradict Koon and undermine
          the theoretical foundations on which the sentencing guidelines
          rest.  See United 
                            States v.  Olbres, 99 F.3d 28, 34-35 (1st Cir.
          1996). Viewed at an appropriate level of generality, 
                                                              cf. 
                                                                  Koon, 116
          S. Ct. at 2047, the mere existence of sections 5K1.1 and 3E1.1(b)
          does not foreclose the theoretical possibility of predicating a
          downward departure on such conduct. Cf., 
                                                   e.g., 
                                                         Olbres, 99 F.3d at
          36 (reaching a substantially similar conclusion as to business
          failure and attendant loss of jobs by innocent employees stemming
          from a defendant's proposed incarceration); 
                                                    Rivera, 994 F.2d at 953
          (reaching a substantially similar conclusion as to a defendant's
          family circumstances); United 
                                        States v. Sklar, 920 F.2d 107, 116
          (1st Cir. 1990) (reaching a substantially similar conclusion as to
          a defendant's rehabilitation).
                             B.  The Factual Predicate.
                                         17

                    To this point, we have established that, consistent with
          the method of the sentencing guidelines as elucidated in Koon, a
          defendant's timeous agreement to enter a plea and his actions
          ancillary thereto may have ameliorative consequences so far beyond
          ordinary expectations as to warrant a downward departure for
          conserving judicial resources and thereby facilitating the
          administration of justice. We next inquire whether the court below
          had a sufficient factual predicate for its determination that the
          departure-justifying feature exists in this situation to a degree
          which suffices to distinguish the case from the mine-run.     See
          Koon, 116 S. Ct. at 2045.
                    Departures which depend on the presence of a
          distinguishing characteristic to an exceptional degree are
          sometimes called quantitative departures (as opposed to qualitative
          departures, which depend upon the presence, simpliciter, of a
          distinguishing characteristic).  See Bruce M. Selya &amp; Matthew R.
          Kipp, 
               An Examination of Emerging Departure Jurisprudence Under the
          Federal 
                  Sentencing  
                             Guidelines, 67 Notre Dame L. Rev. 1, 22-24
          (1991). Although descriptions of the phenomenon vary, their
          essence remains the same: when a sentencing court mulls a ground
          already considered by the Commission, there must be something very
          special about how that ground manifests itself in the particular
          case if it is to bear the weight of a departure. See 
                                                               Koon, 116 S.
          Ct. at 2045; Rivera, 994 F.2d at 949.
                    Judge Carter understood the nature of this inquiry. He
          reasoned that the appellees' guilty pleas negated a potentially
                                         18

          cumbersome trial and thus accrued a substantial benefit to the
          court. He premised this conclusion primarily on four subsidiary
          determinations: (1) the appellees' courage in changing their pleas
          without first having secured any commitments as to sentencing, (2)
          the length of the anticipated trial, (3) the case's complexity, and
          (4) the need to relocate the proceedings to Bangor. In the judge's
          view, these circumstances made the case sufficiently atypical to
          warrant departures across the board.
                    In our estimation, the collateral circumstances relied on
          by the sentencing court, whether viewed singly or in combination,
          do not justify the wholesale departures that ensued.
                    We start with the most obvious point. To the extent that
          the district court based its departure decision on the fact that
          the appellees, though facing potentially severe sentences, entered
          pleas without sentencing agreements,  it erred. Notwithstanding
          that most categorical interpretations are disfavored under the 
                                                                       Koon
          Court's regime, some boundaries are essential if the guidelines are
          not to be emptied of all meaning. Considering a straight plea as
          a factor supporting departure impinges upon one of these
          boundaries. Permitting courts to pass freely across this line
          would intrude upon the Commission's prerogatives and undercut the
          sentencing guidelines. After all, the Commission specifically
          recognized the high percentage of guilty pleas in federal criminal
                              
               The court colorfully described this scenario as one in which
          the appellees had agreed "to plead with their hearts in their
          throats . . . knowing that the sky is the limit and the judge
          determines the height."
                                         19

          cases, 
                see USSG Ch. 1, Pt. A, intro. comment. 4(c) (observing that
          "[n]early ninety percent of all federal criminal cases involve
          guilty pleas"), and pleading straight up is commonplace.
                    No deviation from this principle is warranted here. In
          point of fact, these appellees did not tender bare pleas. They
          received a significant concession in exchange for eschewing trial:
          the government stipulated to drug quantities (a critical integer in
          the formula for constructing a defendant's GSR). Even more
          importantly, the district court indicated in advance that the
          appellees could anticipate receiving solicitous treatment in
          sentencing if they changed their pleas.
                    The remainder of the lower court's analysis is also
          flawed. The court placed great emphasis on the fact that trial
          would have taken four to six months, spread over a period spanning
          ten months to a year. In and of itself, this estimate is puzzling.
          The court had abandoned the idea of splitting the defendants into
          groups for purposes of trial, and, in its procedural order setting
          the conditions for the upcoming trial, entered on May 12, 1995, the
          court had allotted 12 days for trial on the drug-related counts.
          By coincidence, the drug-count trial of the two defendants who did
          not plead took exactly 12 days.  See United States v. Morris, 914
                              
               This appeal does not raise the question of whether the
          district court's actions impinged on Fed. R. Crim. P. 11(e)(1)
          (ordaining that the sentencing court "shall not participate" in
          plea discussions). Consequently, we express no opinion either on
          that question or on the somewhat related question whether, with or
          without regard to Rule 11(e)(1), the appellants might have a basis
          for seeking to withdraw their guilty pleas.
                                         20

          F. Supp. 637, 639 (D. Me.) (recounting travel of the case), 
                                                                     aff'd,
          99 F.3d 476 (1st Cir. 1996). It is hard to believe that a separate
          tax-fraud trial, if one proved necessary, would have consumed more
          than this amount of time.
                    Judicial time is a valuable commodity, and to save a
          half-year or more of trial time, along with jury costs and other
          associated expenses, might be a significant savings. But multiple-
          defendant/multiple-count criminal cases of the duration involved
          here (five to six weeks seems a generous estimate) are not
          uncommon. Even in the case of a trial projected to take much
          longer, we think it would require a very detailed and specific
          showing to give full weight to such a projection _ especially in
          view of the perverse incentive created by encouraging defendants to
          threaten to prolong proceedings as a wedge for obtaining downward
          departures.
                    In the same vein, it will be exceedingly rare that the
          complicated nature of an anticipated trial will warrant a downward
          departure. While we can conjure up some byzantine case in which
          complexity might be a proper factor in assessing whether the
          defendant's facilitative conduct benefitted the judiciary to a
          degree not contemplated by the applicable guideline range,    cf.
          Selya &amp; Kipp,    supra, at 31-37 (canvassing cases examining
          collateral circumstances to gauge a factor's quantitative weight),
          there is nothing so unusual about the complexities of a garden
                                         21

          variety drug-and-tax case that warrants departing.
                    The need to manage large, multi-defendant, multi-issue
          cases arises in federal district courts with the approximate
          frequency of acne in adolescence. This case does not appear to
          present problems so out of the ordinary as to pluck it from the
          mainstream. The case, in its most cumbersome form, involved nine
          defendants and three counts. Trying such a case is no small chore,
          but, given the evolution of federal criminal cases in the modern
          era, it is not an atypical configuration. 
                                                   See, 
                                                        e.g., 
                                                              United States
          v. Gallegos, 108 F.3d 1272, 1275 (10th Cir. 1997) (22 defendants,
          23-count indictment); United States v. McKinney, 98 F.3d 974, 976
          (7th Cir. 1996) (10 defendants, 12-count indictment), 
                                                              cert. 
                                                                    denied,
          117 S. Ct. 1119 (1997); United 
                                         States v. Anderson, 89 F.3d 1306,
          1308 (6th Cir. 1996) (29 defendants, 56-count indictment),  cert.
          denied, 117 S. Ct. 786 (1997).
                    Before leaving the imbricated topics of duration and
          complexity, we offer two additional insights. First, we flatly
          reject the notion that the prospect of burdensome post-trial
          motions or difficult appellate issues, no matter how tricky or
          time-consuming, can justify a downward departure. Second, we think
          it is important to note that the district court took what amounted
                              
               Withal, we reject the government's claim that the prospective
          length and complexity of the proceedings should be disregarded
          because these attributes were aggravated by the court's bifurcation
          order. Such trial management decisions are peculiarly within a
          nisi prius court's discretion,    see,  e.g.,  United  
                                                                 States v.
          Saccoccia, 58 F.3d 754, 770 (1st Cir. 1995), cert. denied, 116 S.
          Ct. 1322 (1996); United 
                                  States v.  Taylor, 54 F.3d 967, 974 (1st
          Cir. 1995), and that discretion was not abused here.
                                         22

          to an abstract view of the gross benefit that would accrue as a
          result of the guilty pleas. Since not all the defendants pleaded,
          the court still had to try the drug case and the tax case, albeit
          with fewer parties, and to resolve much the same tangle of legal
          issues. Consequently, the net savings to the justice system were
          considerably more modest than the court projected.
                    The final idiosyncracy identified by the court below _
          the shortage of suitable courtroom space _ is a somewhat different
          matter. Although we can find no precedent on the point, we assume
          arguendo that the hardship of proceeding to trial during a major
          courthouse rehabilitation project which puts adequate courtrooms in
          short supply might be a relevant collateral circumstance.
          Nevertheless, the record suffers from a dearth of information. For
          example, there are insufficient facts concerning both the lack of
          alternative facilities in Portland and the availability of
          courtrooms in Bangor. While we might perhaps take judicial notice
          of the existence of other courthouses, the record furnishes no
          basis for us to determine whether those alternatives really were
          inadequate.  This scarcity of record support weakens the influence
                              
               As we read the record, the lower court did not place much
          weight on this factor. It found a substantial benefit to the
          judicial system apart from the issue of limited trial space and
          stated only that the removal to Bangor compounded its
          considerations.
                To be sure, the court stated that the only Portland location
          at which it could try criminal cases was in the Cumberland County
          Courthouse and that "[t]he courthouse facility there available was
          in the new, modern wing where the courtrooms are relatively small,
          and none of those courtrooms that were available to this court as
          a result of that agreement were adequate to try 8 defendants with
                                         23

          of the courthouse renovation on the departure determination. In
          all events, what we know about the courtroom problem in this case
          indicates fairly conclusively that this distinguishing feature does
          not warrant departure.
                    It thus appears that the district court's reasons, taken
          one by one, do not justify the dispensing of wholesale departures.
          And while factors insufficient in themselves sometimes may suffice,
          in combination, to wrest a case from the heartland and thus clear
          the way for a departure, see, e.g., United 
                                                     States v. Bowser, 941
          F.2d 1019, 1024-25 (10th Cir. 1991), this is not such an instance.
          The court's articulated reasons, even when taken in cumulation,
          lack the force which is necessary to transport the case
          sufficiently beyond the realm of the ordinary.
                    To summarize, we hold that in an appropriate case a
          defendant's timely entry of a guilty plea might facilitate the
          administration of justice in such an unusual way, or to so
          inordinate a degree, that it substantially exceeds the reasonable
          expectations the sentencing commissioners likely harbored when
          formulating the guidelines.   Garcia is such a case (or so the
          Second Circuit thought). In our judgment, however, merited
          downward departures of this stripe are bound to be rare. That is
          so because some facilitation flows from virtually every timely
                              
          upwards of twenty lawyers participating in trial." But the court
          did not explain why the bankruptcy court facilities (which were
          used during the renovation to conduct civil jury trials) were not
          utilized, or why the original severance order could not have been
          reinstated (thus paring the size of the queue), or whether the
          availability of other state facilities outside of Portland but
          closer than Bangor was explored.
                                         24

          guilty plea _ and the Sentencing Commission knew as much. Such a
          readily foreseeable level of facilitation, while laudable, stops
          well shy of what is necessary to take a case out of the heartland.
          See, 
              e.g., 
                    United States
                                  v. 
                                     Gonzalez, 970 F.2d 1095, 1103 (2d Cir.
          1992) (distinguishing  Garcia on the facts);   United  
                                                                 States v.
          Lockyer, 966 F.2d 1390, 1392 (11th Cir. 1992) (per curiam)
          (similar); 
                    United States
                                  v. 
                                     Armstrong, 842 F. Supp. 92, 96 (S.D.N.Y
          1994); United States v. Collazo, 798 F. Supp. 513, 518 (N.D. Ind.
          1992). It is only the occasional instance, where circumstances
          permit and the accused takes full advantage of them, that will
          yield facilitation so dramatic as to cross the line. This is as it
          should be: "If the guidelines are to provide a coherent system of
          criminal sentencing, the trial court's right to depart, up or down,
          must be restricted to those few instances where some  substantial
          atypicality can be demonstrated."  United States v. Williams, 891
          F.2d 962, 967 (1st Cir. 1989) (emphasis supplied).
                    On the record as it now stands, this case falls within
          the general rule, not within the long-odds exception to it. Multi-
          defendant criminal cases are mothers' milk in the federal courts.
          So, too, are guilty pleas. Thus, multiple defendants participating
          in the entry of guilty pleas, without quite a bit more, cannot
          constitute the meaningful atypicality that is required to warrant
          a departure. Here, there is not enough "more." Hence, the
          departures were improvidently granted.
          IV. CONCLUSION
                    We need go no further. The award of the third-level
                                         25

          acceptance of responsibility adjustment was not clearly erroneous.
          As for the downward departures, we hold that, in theory, the court
          had authority to depart for conduct (i.e., the timely guilty pleas)
          which conserved judicial resources and thereby facilitated the
          administration of justice. Here, however, the case for departure,
          overall, falls so far short of   Garcia that the court's global
          departures cannot survive.  We therefore vacate the appellees'
          sentences and remand for further proceedings consistent with this
          opinion.
          It is so ordered.
                              
                In this case, the record strongly suggests that not all the
          appellees contributed in the same degree to bringing about the
          global pleas. Moreover, in fixing the extent of the individual
          departures, the judge commented on the especially significant
          contributions that one or two defendants had made in breaking the
          log jam. The court remains free, on remand, to pursue the question
          of whether this is a distinguishing feature warranting a downward
          departure in a particular instance.  See Garcia, 926 F.2d at 128.
                                         26

                                      APPENDIX
          S3E1.1.  Acceptance of Responsibility
                    (a) If the defendant clearly demonstrates
                    acceptance of responsibility for his offense,
                    decrease the offense level by 2 levels.
                    (b) If the defendant qualifies for a decrease
                    under subsection (a), the offense level
                    determined prior to the operation of
                    subsection (a) is level 
                                           16 or greater, and the
                    defendant has assisted authorities in the
                    investigation or prosecution of his own
                    misconduct by taking one or more of the
                    following steps:
                         (1) timely providing complete information to
                         the government concerning his own involvement
                         in the offense; or
                         (2) timely notifying authorities of his
                         intention to enter a plea of guilty, thereby
                         permitting the government to avoid preparing
                         for trial and permitting the court to allocate
                         its resources efficiently,
                         decrease the offense level by 1 additional level.
          USSG S3E1.1 (1995).
          S5K1.1. Substantial Assistance to Authorities
                                                        (Policy Statement)
          Upon motion of the government stating that the defendant has
          provided substantial assistance in the investigation or prosecution
          of another person who has committed an offense, the court may
          depart from the guidelines.
                    (a) The appropriate reduction shall be determined by the
                    court for reasons stated that may include, but are not
                    limited to, consideration of the following:
                         (1) the court's evaluation of the
                         significance and usefulness of the
                         defendant's assistance, taking into
                         consideration the government's evaluation
                         of the assistance rendered;
                         (2) the truthfulness, completeness, and
                         reliability of any information or testimony
                                         27

                         provided by the defendant;
                         (3) the nature and extent of the
                         defendant's assistance;
                         (4) any injury suffered, or any danger or
                         risk of injury to the defendant or his
                         family resulting from his assistance;
                         (5) the timeliness of the defendant's
                         assistance.
          USSG S5K1.1 (1995).
          S5K2.0.  Grounds for Departure (Policy Statement)
                    Under 18 U.S.C. S 3553(b) the sentencing court may impose
                    a sentence outside the range established by the
                    applicable guideline, if the court finds "that there
                    exists an aggravating or mitigating circumstance of a
                    kind, or to a degree, not adequately taken into
                    consideration by the Sentencing Commission in formulating
                    the guidelines that should result in a sentence different
                    from that described." Circumstances that may warrant
                    departure from the guidelines pursuant to this provision
                    cannot, by their very nature, be comprehensively listed
                    and analyzed in advance. The controlling decision as to
                    whether and to what extent departure is warranted can
                    only be made by the courts. Nonetheless, this subpart
                    seeks to aid the court by identifying some of the factors
                    that the Commission has not been able to take into
                    account fully in formulating the guidelines. Any case
                    may involve factors in addition to those identified that
                    have not been given adequate consideration by the
                    Commission. Presence of any such factor may warrant
                    departure from the guidelines, under some circumstances,
                    in the discretion of the sentencing court. Similarly,
                    the court may depart from the guidelines, even though the
                    reason for departure is taken into consideration in the
                    guidelines (
                               e.g., as a specific offense characteristic or
                    other adjustment), if the court determines that, in light
                    of unusual circumstances, the guideline level attached to
                    that factor is inadequate.
                    Where, for example, the applicable offense guideline and
                    adjustments do take into consideration a factor listed in
                    this subpart, departure from the applicable guideline
                    range is warranted only if the factor is present to a
                    degree substantially in excess of that which ordinarily
                    is involved in the offense. Thus, disruption of a
                    governmental function, S5K2.7, would have to be quite
                                         28

                    serious to warrant departure from the guidelines when the
                    applicable offense guideline is bribery or obstruction of
                    justice. When the theft offense guideline is applicable,
                    however, and the theft caused disruption of a
                    governmental function, departure from the applicable
                    guideline range more readily would be appropriate.
                    Similarly, physical injury would not warrant departure
                    from the guidelines when the robbery offense guideline is
                    applicable because the robbery guideline includes a
                    specific adjustment based on the extent of any injury.
                    However, because the robbery guideline does not deal with
                    injury to more than one victim, departure would be
                    warranted if several persons were injured.
                    Also, a factor may be listed as a specific offense
                    characteristic under one guideline but not under all
                    guidelines. Simply because it was not listed does not
                    mean that there may not be circumstances when that factor
                    would be relevant to sentencing. For example, the use of
                    a weapon has been listed as a specific offense
                    characteristic under many guidelines, but not under
                    immigration violations. Therefore, if a weapon is a
                    relevant factor to sentencing for an immigration
                    violation, the court may depart for this reason.
                    An offender characteristic or other circumstance that is
                    not ordinarily relevant in determining whether a sentence
                    should be outside the applicable guideline range may be
                    relevant to this determination if such characteristic or
                    circumstance is present to an unusual degree and
                    distinguishes the case from the "heartland" cases covered
                    by the guidelines in a way that is important to the
                    statutory purposes of sentencing.
          USSG S5K2.0 (1995).
                                         29


